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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF INDIANA
                                       INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                             )
                                                       )
                                   Plaintiff,          )
                                                       )
                              v.                       )     No. 1:20-cr-00096-TWP-DLP
                                                       )
 CHRISTOPHER TATE,                                     ) -01
 JOVAN STEWART                                         )
    a/k/a PESO,                                        ) -02
 ROBERT HINTON,                                        ) -03
 TIA DIMMETT,                                          ) -04
 LACEY GUZMAN,                                         ) -05
 SANDRA KELLOGG,                                       ) -06
 DESIRAE EVANS,                                        ) -07
 ERIC POORE                                            )
    a/k/a HOLLYWOOD,                                   ) -08
 JOSE RODRIGUEZ-CHAVEZ                                 )
    a/k/a JALISCO                                      )
    a/k/a JOHNNY,                                      ) -09
 JASON LEWIS,                                          ) -10
 DWYATT HARRIS,                                        ) -11
 DOROTHY KNIGHT,                                       ) -12
 CHAYLON RUSH,                                         ) -13
                                                       )
                                   Defendants.         )

  ORDER SETTING FINAL PRETRIAL, TRIAL AND PRETRIAL FILING DEADLINES

        This matter is set for final pretrial conference on April 29, 2020 at 4:00 p.m. in Room 344

 and trial by jury on May 18, 2020 at 9:00 a.m. in Courtroom 344, Birch Bayh Federal Building

 and United States Courthouse, Indianapolis, Indiana. Counsel shall be prepared to fully discuss

 the status of the action in accordance with the agenda for final pretrial conferences set out in this

 Court’s Courtroom Practice and Trial Procedures. The Defendants are ordered to appear at the

 final pretrial conference.
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         To promote the orderly progression of this case, the following pretrial deadlines are set. If

 a petition to enter a plea of guilty is filed prior to the first pretrial filing deadline, then the deadlines

 below will be vacated. If a motion to continue the trial is filed prior to the first pretrial filing

 deadline, then the deadlines will be continued in conjunction with the continuance of the final

 pretrial and trial dates.


              ITEM                         DESCRIPTION                                    DEADLINE
   Filing of motions that must Any motion listed in Fed. R. Crim. P.                   Two weeks prior to
   be made pursuant to Fed. R. 12(b)(3), except for a motion of                        the final pretrial
   Crim. P. 12(b)(3)           discovery
   Filing of motions to change       See Fed. R. Crim. P. 18, 21                       Two weeks prior to
   venue or division                                                                   the final pretrial
   Filing of notices of certain      Any defenses specified in Fed. R. Crim.           Two weeks prior to
   defenses                          P. 12.1, 12.2, or 12.3                            the final pretrial
   Government’s pre-trial            All information subject to disclosure             Two weeks prior to
   disclosure (non-expert)           under Fed. R. Crim. P. 16(a)(1)(A)-(F)            the final pretrial
   Government’s pre-trial            Expert information subject to disclosure          Two weeks prior to
   disclosure (expert)               under Fed. R. Crim. P. 16(a)(1)(G)                the final pretrial
   Defendant’s pre-trial             All information subject to disclosure             Two weeks prior to
   disclosure (non-expert)           under Fed. R. Crim. P. 16(b)(1)(A)-(B)            the final pretrial
   Defendant’s pre-trial             Expert information subject to disclosure          Two weeks prior to
   disclosure (expert)               under Fed. R. Crim. P. 16(b)(1)(C)                the final pretrial
   Filing of notice of Rule          If the Government intends to offer          Two weeks prior to
   404(b) Evidence                   evidence of other crimes, wrongs, or acts the final pretrial
                                     at trial, the Government must file a notice
                                     setting forth the nature of such evidence
                                     and the purpose(s) for which it will be
                                     offered.
   Transcripts of wiretaps           If the Government intends to introduce            Two weeks prior to
                                     into evidence transcripts of wiretaps at          the final pretrial
                                     trial as part of its case-in-chief, it must
                                     provide the defense with copies of those
                                     transcripts.
   Counter-designations of           If the defense intends to introduce               Two weeks prior to
   wiretaps                          additional wiretap transcripts as part of         the final pretrial
                                     the defense case-in-chief, the defense
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                                   must provide the Government with
                                   copies of those transcripts.
   Motions for additional          If, despite having first met and conferred, Two weeks prior to
   discovery or inspection         the parties are unable to resolve disputes the final pretrial
                                   about additional information that must be
                                   exchanged, they may file a motion for the
                                   Court’s ruling. Any motions for third-
                                   party subpoenas returnable before trial
                                   must also be filed by this date.
   Filing of Government’s trial A list of witnesses whom the                      Two weeks prior to
   witness and exhibit list     Government intends to call and the                the final pretrial
                                exhibits it intends to introduce as part of
                                its case-in-chief.
   Filing of Defense’s trial       A list of witnesses whom the defense           Two weeks prior to
   witness and                     intends to call and exhibits it intends to     the final pretrial
   exhibit list                    introduce as part of the defense case-in-
                                   chief.
   Filing of motions in limine     If any party desires a pre-trial evidentiary   Two weeks prior to
                                   ruling the party may move for it in            the final pretrial
                                   limine. Motions in limine include
                                   Santiago proffers.
   Filing of responses to          The date by which the response brief, if       One week prior to
   motions in limine               any, is due to motions in limine.              the final pretrial
   Filing of stipulations          The parties are encouraged to stipulate to     Prior to trial
                                   the extent possible, consistent with
                                   counsel’s professional obligations.
                                   Stipulations must be signed and filed.
   Filing of proposed              Parties may submit any proposed                One week prior to
   preliminary jury                preliminary instructions one week prior        the final pretrial
   instructions and objections.    to the final pretrial. The week before
                                   trial, the Courtroom Deputy will email
                                   the Court’s preliminary instructions. If
                                   any party objects to the Court’s standard
                                   preliminary jury instructions or to any
                                   other party’s proposed preliminary
                                   instructions, the party must file a written
                                   objection specifying the grounds for the
                                   objection and applicable authority.
   Filing of proposed final jury   The parties are to confer regarding            One week prior to
   instructions and objections     proposed final jury instructions and           the final pretrial
   to proposed final jury          submit them in a single document
   instructions                    comprising all proposed final
                                   instructions. The document should
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                                  contain the proposed final instruction, the
                                  Government’s objection (if any) and the
                                  defendant’s objection (if any) and then
                                  move on to the next instruction.
                                  Proposals should be filed and emailed to
                                  the Courtroom Deputy in Word
                                  format.
   Filing of proposed voir dire   The parties may submit proposed voir          One week prior to
   and objections.                dire which they would like the court to       the final pretrial
                                  ask of the venire. If any party objects to
                                  the other parties proposed voir dire
                                  question, the objection must be in writing
                                  and filed on CMECF.
   Submission of agreed           The parties must meet and confer              One week prior to
   verdict forms                  regarding the forms of the verdict. If they   the final pretrial
                                  agree, they should email the forms in
                                  Word to the Courtroom Deputy. If they
                                  cannot agree, they must file and email
                                  their competing verdict forms.


        IT IS SO ORDERED.

        Date:    3/26/2020




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